                                         MICHAEL HUESTON
                                                ATTORNEY                  A T     LAW
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                                                                August 15, 2019

BY ECF
The Honorable Ann M. Donnelly
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                      Re: United States v. Lucio Celli, et al., 19 Cr. 127 (AMD)


Your Honor:
                I represent Mr. Lucio Celli in the above-referenced case. I write to request that
Mr. Celli’s bail conditions be temporarily modified to permit him to file three pro se appellate
submissions on or before August 20, 2019, in Combier v. Portelos, 18-3230, which is in the
United States Court of Appeals for the Second Circuit. The filings are for him to cure defects at
Docket Entries 76, 77, and 78 in that case. The government and pretrial services consent to this
application.

              Mr. Celli is presently subject to the following bail conditions: a $150,000 bond
secured by two co-signers (his parents), cash payment and real property subject to a confession
of judgment; home detention; the surrender of his passport; no internet use; living with his
parents who serve as his third party custodians; mental health treatment; travel restrictions to the
Eastern and Southern Districts of New York and the City of New York; and pretrial supervision.

                His contact with the federal court system is also restricted because of the nature
the allegations in this case.

                If this request meets with Your Honor’s approval, I ask that the order be docketed
so it can be provided to Pretrial Services in time for Mr. Celli to make his pro se filing.



                                                                                      Respectfully,

                                                                                      s/
                                                                                      Michael Hueston


cc:         A.U.S.A. Kayla Bensing, and Pretrial Services
